Case 1:20-cv-01509-MEH Document 9 Filed 05/27/20 USDC Colorado Page 1 of 7




                                                             DATE FILED: March 6, 2020 11:20 AM
DISTRICT COURT, COUNTY OF ARAPAHOE,                          FILING ID: C91C247CC9305
STATE OF COLORADO                                            CASE NUMBER: 2020CV30583

7325 S. Potomac Street
Centennial, CO 80112


Plaintiff:

      DARLENE FRANCO

v.                                                                  ▲ COURT USE ONLY ▲

Defendant:

      THE KROGER CO., a Foreign Corporation, d/b/a D620             Case No. _____________
        KROGER CENTRAL/KING SOOPERS
                                                                    Division: _____
Attorneys for Plaintiff:
Geoffrey S. Gulinson, #19351
Geoffrey S. Gulinson & Associates, P.C.
4155 East Jewell Avenue, Suite 402
Denver, Colorado 80222
Phone: (303) 753-0037
Fax: (303) 753-4599
geoff@geoffreysgulinson.com


                                           COMPLAINT


        Darlene Franco (hereinafter “Plaintiff”), by and through her undersigned attorneys,
Geoffrey S. Gulinson & Associates, P.C., and for her Complaint against Defendant The Kroger
Co., a foreign corporation d/b/a D620 Kroger Central/King Soopers, states and alleges as
follows:

                                              VENUE

     1. Pursuant to Rule 98(c)(1) and (5), venue is proper in the District Court, Arapahoe County,
        Colorado, because the injury occurred in Arapahoe County.

                          PARTIES AND GENERAL ALLEGATIONS

     2. The Plaintiff is Darlene Franco, who resides at 881 Newark Street, Aurora, Colorado
        80010.

                                         EXHIBIT A
Case 1:20-cv-01509-MEH Document 9 Filed 05/27/20 USDC Colorado Page 2 of 7




 3. Defendant The Kroger Co. is a foreign corporation d/b/a D620 Kroger Central/King
    Soopers (hereinafter “Defendant Kroger”). Defendant The Kroger Co.’s registered agent
    is the Corporation Service Company located at 1900 W. Littleton Boulevard in Littleton,
    Colorado 80120.

 4. Defendant The Kroger Co. is the owner of the King Soopers store located at 655 Peoria
    Street in Aurora, Arapahoe County, Colorado, where Plaintiff was injured.

 5. Subject matter jurisdiction is proper in this Court as the probable amount of recovery
    exceeds the amount required for the district court limitation pursuant to the Colorado
    Revised Statutes.

                                      FACTUAL STATEMENT

 6. Plaintiff hereby affirms, alleges, and incorporates the allegations contained in the above
    paragraphs as though set forth fully herein.

 7. On or about March 12, 2018, Plaintiff was a business “invitee” of Defendant’s King
    Soopers store located at 655 Peoria Street in Aurora, Colorado.

 8. Plaintiff was shopping in the subject store in the coffee aisle. An elderly gentleman was in
    the same aisle at the same location. In order not to disturb the gentleman and in order to
    reach the coffee that she wanted to purchase, Plaintiff ducked under a bar code scanner that
    was mounted on a store post. As she stood up, her right shoulder struck the scanner.

                              FIRST CLAIM FOR RELIEF
        (Premises Liability Against Defendant The Kroger Co. - C.R.S. § 13-21-115)

 9. Plaintiff hereby affirms, alleges, and incorporates each and every allegation cited above, as
    though fully set forth herein.

 10. At the time of Plaintiff’s incident, Defendant Kroger was a “land owner” within the
     meaning of C.R.S. § 13-21-115(1).

 11. At the time of the incident, Plaintiff was an “invitee” of Defendant, which on information
     and belief, had common-law and contractual duties to Plaintiff, either directly or indirectly,
     as a third-party beneficiary between Defendant to allow Plaintiff to enter and transact
     through a safe and non-hazardous premises.

 12. It was Defendant’s express representation that the public, including Plaintiff, was
     requested, expected, or intended to enter or remain in the subject King Soopers store.

 13. Defendant, through its employees, knew or should have known that the bar code scanner
     was protruding too far out from the post, specifically 5-1/8 inches. The 2015 International
     Building Code (IBC), adopted by Aurora, Colorado, states that any structural elements,

                                                2
Case 1:20-cv-01509-MEH Document 9 Filed 05/27/20 USDC Colorado Page 3 of 7




    fixtures or furnishings shall not project horizontally from either side more than 4 inches
    over any walking surface.

 14. Defendant owed Plaintiff the duty of abating this hazardous condition by following the
     IBC requirement.

 15. At the time of Plaintiff’s injury, Defendant, as a statutory or actual “landowner,” was
     legally responsible for the condition of the store premises, as well as for the activities
     conducted or circumstances existing in the store premises within the meaning of C.R.S. §
     13-21-115(1), and Plaintiff was an “invitee” of Defendant as she was a person who entered
     or remained in the subject store, within the meaning of C.R.S. § 13-21-115(c).

 16. Defendant is directly or imputably liable to Plaintiff for injuries, damages, and losses
     sustained by Plaintiff and caused by Defendant for the unreasonable failure to exercise
     reasonable care to protect against the hazardous condition which was known or should
     have been known pursuant to C.R.S. § 13-21-115(3).

 17. Defendant failed to warn individuals, including Plaintiff, of the hazardous condition of the
     protruding bar code scanner in the subject store.

 18. Defendant had or should have had actual knowledge of the hazardous condition and failed
     to take appropriate abatement measures to protect invitees from the known hazardous
     condition.

 19. Defendant, through its employees, failed to use reasonable care to protect Plaintiff against
     the hazardous condition which existed in the store, and this failure was the cause of
     Plaintiff’s injuries, damages, or losses.

 20. As a direct and proximate result or substantial factor of Defendant’s actions and/or
     omissions, Plaintiff injured her right shoulder, resulting in surgery, as well as pain and
     suffering, emotional distress as a result of the subject incident, and other injuries which
     will be more particularly described at trial.

 21. Defendant, as a direct and proximate result or substantial factor in bringing or causing
     Plaintiff’s injuries as described above, is liable for its actions and inactions for economic
     damages, including medical expenses, and for non-economic damages, including, but not
     limited to, loss of enjoyment of life, pain and suffering, emotional distress as a result of the
     subject incident, and physical impairment and disfigurement, all in amounts to be proven
     at trial.

 22. Due to the injuries sustained in the subject incident, Plaintiff has treated with medical
     providers and has complied with medical treatment.




                                                 3
Case 1:20-cv-01509-MEH Document 9 Filed 05/27/20 USDC Colorado Page 4 of 7




 23. As a further direct and proximate result or substantial factor of Defendant’s negligence as
     indicated in the paragraphs above, Plaintiff has suffered loss of enjoyment of life and
     impairment of the quality of life.

 24. As a further direct and proximate result or substantial factor of Defendant’s negligence as
     indicated in the paragraphs above, Plaintiff believes that she has suffered permanent
     impairment and/or permanent disability.

 25. Plaintiff, at all times relevant hereto, was not liable for comparative or contributory
     negligence and she has reasonably mitigated her damages.

 26. As a direct and proximate result of the negligent acts of Defendant herein, Plaintiff has
     suffered various injuries, damages, and losses including:

      a. Economic damages, past and future, including but not limited to, medical expenses,
         household expenses, and other expenses;

      b. Non-economic damages, including but not limited to, pain and suffering,
         inconvenience, emotional stress, loss of enjoyment of life, and anxiety.

                                   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for judgment against Defendant, as follows:

      a. Compensation for economic losses, both past and future;

      b. Compensation for non-economic losses for pain and suffering, inconvenience,
         emotional distress, loss of enjoyment of life, and anxiety, both past and future;

      c. Compensation for other expenses sustained or incurred;

      d. Attorneys’ fees as provided by law;

      e. Pre- and post-judgment interest as provided by law;

      f. Costs, including expert witness fees, as provided by law; and

      g. Such further relief as the Court deems just and proper.




                                                4
Case 1:20-cv-01509-MEH Document 9 Filed 05/27/20 USDC Colorado Page 5 of 7




       DATED: March 6, 2020

                              GEOFFREY S. GULINSON & ASSOCIATES, P.C.
                              A duly signed original on file at the office of
                              Geoffrey S. Gulinson and Associates, P.C.




                              s/ Geoffrey S. Gulinson
                              Geoffrey S. Gulinson, #19351
                              Attorneys for Plaintiff

Plaintiff’s Address:
881 Newark Street
Aurora, CO 80010




                                              5
Case 1:20-cv-01509-MEH Document 9 Filed 05/27/20 USDC Colorado Page 6 of 7




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4155 East Jewell Avenue, Suite 402
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Phone: (303) 753-0037
Fax: (303) 753-4599
geoff@geoffreysgulinson.com


 DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEADING OF
            COMPLAINT, COUNTERCLAIM, CROSS-CLAIM OR
                       THIRD PARTY COMPLAINT


1. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim, cross-
   claim or third party complaint in every district court civil (CV) case. It shall not be filed in
   Domestic Relations (DR), Probate (PR), Water (CW), Juvenile (JA, JR, JD, JV), or Mental
   Health (MH) cases. Failure to file this cover sheet is not a jurisdictional defect in the
   pleading but may result in a clerk’s show cause order requiring its filing.

2. Simplified Procedure under C.R.C.P. 16.1 applies to this case unless (check one box below
   if this party asserts that C.R.C.P. 16.1 does not apply):

        This is a class action, forcible entry and detainer, Rule 106, Rule 120, or other similar
        expedited proceeding, or
Case 1:20-cv-01509-MEH Document 9 Filed 05/27/20 USDC Colorado Page 7 of 7




     XX This party is seeking a monetary judgment against another party for more than
        $100,000.00, including any penalties or punitive damages, but excluding attorney fees,
        interest and costs, as supported by the following certification:

            By my signature below and in compliance with C.R.C.P. 11, based upon information
            reasonably available to me at this time, I certify that the value of this party’s claims
            against one of the other parties is reasonably believed to exceed $100,000.”

     Or

         Another party has previously filed a cover sheet stating that C.R.C.P. 16.1 does not apply
     to this case.

3.       This party makes a Jury Demand at this time and pays the requisite fee. See C.R.C.P.
     38. (Checking this box is optional.)


     Dated: March 6, 2020                             /s/ Rick A. Carmickle__________________
                                                      Signature of Party or Attorney for Party


                                             NOTICE

This cover sheet must be served on all other parties along with the initial pleading of a
complaint, counterclaim, cross-claim, or third party complaint.




                                                  2
